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                        EXHIBIT A




                                                                         UBSPO001
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 LATHAM & WATKINS LLP                              BUTLER SNOW LLP
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 Counsel for UBS Securities LLC and UBS
 AG London Branch

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
In re                                        §
                                             §
                                                                           Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,1          §
                                             §
                                                                     Case No. 19-34054-sgj11
          Debtor.                            §
                                             §
UBS SECURITIES LLC and UBS AG LONDON BRANCH, §
                                             §
          Plaintiffs,                        §
                                             §
                                                                      Adversary Proceeding
v.                                           §
                                             §
                                                                        No. 21-03020-sgj
HIGHLAND CAPITAL MANAGEMENT, L.P.,           §
                                             §
          Defendant.                         §
                                             §
 DECLARATION OF SARAH TOMKOWIAK IN SUPPORT OF UBS’S OPPOSITION
       TO FOREIGN NON-PARTY SENTINEL REINSURANCE, LTD.’S
                 MOTION FOR PROTECTIVE ORDER

   1
      The last four digits of the Debtor’s taxpayer identification number are 6725. The Debtor’s
headquarters and service address is 300 Crescent Court, Suite 700, Dallas, TX 75201.


                                               1
                                                                                   UBSPO002
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       I, Sarah Tomkowiak, declare as follows:

       1.      I am a partner at Latham & Watkins LLP and one of the counsel of record in this

case for Plaintiffs UBS Securities LLC and UBS AG London Branch (together, “UBS”). I have

personal knowledge of the facts in this Declaration, which I submit in support of UBS’s Opposition

to Foreign Non-Party Sentinel Reinsurance, Ltd.’s Motion for Protective Order. If called upon to

do so, I could and would competently testify to these facts.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of a September 2, 2021

email from Jason Burt to Christopher Weldon, counsel for Beecher Carlson Insurance Services

LLC (“Beecher”).

       3.      Attached hereto as Exhibit 2 is a true and correct copy of UBS’s June 29, 2021

subpoena for the production of documents on Beecher, together with its affidavit of service.

       4.      Attached hereto as Exhibit 3 is a true and correct copy of a June 30, 2021 letter

from counsel for Brown & Brown, Inc. (“B&B”)—Beecher’s parent company.

       5.      Attached hereto as Exhibit 4 is a true and correct copy of a July 13, 2021 letter

from counsel for B&B.

       6.      Attached hereto as Exhibit 5 is a true and correct copy of two emails dated August

20, 2021, between counsel for UBS and counsel for Sentinel Reinsurance, Ltd. (“Sentinel”).

       7.      Attached hereto as Exhibit 6 is a true and correct copy of an August 4, 2021 letter

from counsel for Sentinel to counsel for UBS.

       8.      Attached hereto as Exhibit 7 is a true and correct copy of an August 20, 2021 email

from Beecher’s counsel to UBS’s counsel.

       9.      Attached hereto as Exhibit 8 is a true and correct copy of an email exchange dated

August 24, 2021, between Beecher’s counsel and UBS’s counsel.




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                                                                                    UBSPO003
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       10.     Attached hereto as Exhibit 9 is a true and correct copy of an email chain between

Sentinel’s counsel and UBS’s counsel.

       11.     Attached hereto as Exhibit 10 is a true and correct copy of a September 1, 2021

email from Sentinel’s counsel to UBS’s counsel.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on: September 10, 2021               /s/ Sarah Tomkowiak
                                              Sarah Tomkowiak




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                                                                                   UBSPO004
